Case 2:11-cr-02079-WFN   ECF No. 810   filed 09/26/12   PageID.2782 Page 1 of 6
Case 2:11-cr-02079-WFN   ECF No. 810   filed 09/26/12   PageID.2783 Page 2 of 6
Case 2:11-cr-02079-WFN   ECF No. 810   filed 09/26/12   PageID.2784 Page 3 of 6
Case 2:11-cr-02079-WFN   ECF No. 810   filed 09/26/12   PageID.2785 Page 4 of 6
Case 2:11-cr-02079-WFN   ECF No. 810   filed 09/26/12   PageID.2786 Page 5 of 6
Case 2:11-cr-02079-WFN   ECF No. 810   filed 09/26/12   PageID.2787 Page 6 of 6
